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Transcript of Conversation Between Lutron Sales Representative and Anthony O’Connor
                   at HP Expo in Las Vegas, Nevada on May 4, 2018.


       Dialogue between Lutron Sales Representative and Anthony O’Connor starts at 1:32 in
recording.

Lutron Representative (“L”): Hi

Anthony O’Connor (“A”): Hi, Anthony. Nice to meet you.

L: Nice to meet you too [Sylvana] with Lutron.

A: [Sylvana]?

L: Yes

A: I had some questions on a product, but I don’t see it on display in there.

L: From Lutron, or?

A: From Lutron.

L: What questions you have?

A: Umm you guys have new shades coming out?

L: Yes, yes we do.

A: Palladiom?

L: Yes.

A: Can you tell me a little bit about them?

L: Yes, it’s a new luxury design to meet… to work with our Palladiom controls. I don’t
know if you are familiar with this. This is a high-end line… the Palladiom shades basically
they will be like… they have a unique design that you can use it without the fascia. They
have finish…they are available in multiple finishes. We can actually send you a brochure
or email you some more information in detail of the shades if you would like.

A: Yah the design’s umm really cool.

L: It is.

A: It’s what, circles and U’s right?
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L: Yes.

A: So, where did that design come from? It’s it’s like totally un..

L: Yes. It’s something unique and that’s why we got it available. The design, it was a result
of a lot of research and development. Basically it’s to match of that look of our Palladiom
K-pods. I actually. I don’t know if you know [unintelligible] from Lutron? She calls on
your… She is she is based out of…

A: Oh Santa Rosa?

L: No, no Santa Rosa, but she is in LA…

A: …San Fransico?...

L: LA or San Fransico. She covers the Palladiom. If you like, I could have her send you
more info or have her visit you.

A: Yah absolutely.

L: Do you have a card?

A: No, I didn’t bring one with me. I’m so sorry. I might have one at the hotel room.

L: Maybe, I don’t have the scanner for this, but I’ll take a picture here.

A: Okay.

L: Ah, here. [Unintelligible] Is this working….I don’t know what it will
show….Experiment…

A: So, um, what have customers said about Piladium? Have you guys sold a lot or?

L: Well it’s new and we have a very limited distribution at this point. Ummm yes, the
feedback is very positive. Do you have… What do you guys do normally? What type of
products?

A: Uhh well I, I sold Lutron shades for the um past 9 years..

L: Okay..

A: … At Magnolia audio video before working with this company.

L: Uh-huh




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A: Ummm and Ummm, ughh what did we sell? It was like the Athena line or…

L: Yes, Alena and then we have Sivoia QS.

A: Sivoia QS, yes that was.. that’s the Lutron I am most familiar with.

L: Ohh.

A: Um, so, but this is just a completely different design.

L: It is, it is really cool. And I am sending her your info. What is your email address?

A: Anthony r oconner…

L: roconner…

A: @gmail.com

L: Anthony r oconner, so… what is.. okay, and the company is Avi? And this is a
distributer? What is it? What do they do?

A: Ummm I do a lot of integration. So, I do a lot of programming, umm for, for when I am
working. Umm I’ve been in the AV industry for the past eleven years now.

L: um hm

A: So, I’ve worked um.. I don’t know if you’ve heard of House of Music? I used to work at
House of Music.

L: Okay, yes.

A: Umm, Magnolia Audio Video, being a sales manager there.

L: Oh

A: That’s, that’s where I do, did most of my training on Lutron before I started doing the
whole integration piece.

L: Okay

A: Umm, but, umm.. ya I mean it just looks like a…something that… do you have
dementions? It’s something that I could really…

L: …for Palladiom?

A: Yes, for Palladiom, I could really see it…



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L: She will, I have just sent her an email and cc you on it. Umm she will send you more info
about it, but it is on the website though.

A: I, I’m trying to um overcome objections.

L: Okay.

A: And, umm I have a client with a boutique hotel in Texas. Beause I go everywhere.

L: Right.

A: Um, and they are looking at um J Geiger shades.

L: Oh. Okay.

A: Have you heard of them?

L: No.

A: Okay, trying to figure out what the…

L: But, you know who would know is [unclear]. She is the expert of shades. Um, the one
that I wanted - I am putting you in contact with.

A: Okay.

L: She will be able to send you, to tell more about it.

A: Okay, but she’s not here?

L: She just left, she um, she was here yesterday and she left. She, she is based out of
California but, yes, I think you should definitely get in contact with her.

A: Okay, cool.

L: Yes, so you are working the show?

A: Um, I’m actually, just researching and checking everything out.

L: Researching? Anything interesting you found?

A: Um, well, the Palladiom.

L: Ya,ya




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A: I just wish I could see it.

L: Well we’ve had it.. like ya

A: But ya, so the main thing about that is just the design. The circle…

L: The circle…

A: And, uh, U shape.

L: Yes, U shape.

A: Okay

L: Right, so we will send you some info.

A: Great, thank you so much.

L: You’re welcome, you’re welcome.




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